Case 1:25-cv-00039-JJM-PAS   Document 68-124   Filed 02/07/25   Page 1 of 4 PageID
                                   #: 6487




                   Thomas-Jensen
                    Affirmation



                     Exhibit # 124
Case 1:25-cv-00039-JJM-PAS   Document 68-124   Filed 02/07/25   Page 2 of 4 PageID
                                   #: 6488
Case 1:25-cv-00039-JJM-PAS   Document 68-124   Filed 02/07/25   Page 3 of 4 PageID
                                   #: 6489
Case 1:25-cv-00039-JJM-PAS   Document 68-124   Filed 02/07/25   Page 4 of 4 PageID
                                   #: 6490
